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                                        No. 23-299

                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT
                                ________________
                          IN RE: MARRIOTT INTERNATIONAL, INC.,
                       CUSTOMER DATA SECURITY BREACH LITIGATION
                                    ________________
                             MARRIOTT INTERNATIONAL, INC.,
                                                  Petitioner,
                                          v.
         PETER MALDINI; ROGER CULLEN; PAULA O’BRIEN; ROBERT GUZIKOWSKI;
             DENITRICE MARKS; MARIA MAISTO; IRMA LAWRENCE; MICHAELA
          BITTNER; KATHLEEN FRAKES HEVENER; ANNEMARIE AMARENA; BRENT
         LONG; DAVID VIGGIANO; ERIC FISHON, all proceeding individually and
                      on behalf of all others similarly situated,
                                                     Respondents.
                                  ________________
         On Petition for Permission to Appeal from the United States District Court
           for the District of Maryland, No. 8:19-md-02879, Hon. John P. Bailey
                                    ________________
              BRIEF FOR THE CHAMBER OF COMMERCE OF THE
              UNITED STATES OF AMERICA AS AMICUS CURIAE
                      IN SUPPORT OF THE PETITION
                             ________________
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-299
        No. __________             Caption: __________________________________________________
                                            In re: Marriott International, Inc.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        The Chamber of Commerce of the United States of America
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                        amicus curiae         makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:
              N/A




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/Ashley C. Parrish
        Signature: ____________________________________                     Date: ___________________
                                                                                       12/20/2023

                     Amicus Curiae
        Counsel for: __________________________________




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                          INTEREST OF AMICUS CURIAE 1

              The Chamber of Commerce of the United States of America is the

        world’s largest business federation. It directly represents approximately

        300,000 members and indirectly the interests of more than three million

        companies and professional organizations of every size, in every industry

        sector, and from every region of the country. An important function of

        the Chamber is to represent its members’ interests in matters before

        Congress, the Executive branch, and the courts, including by filing

        amicus briefs in cases raising issues of concern to the nation’s business

        community.

              The Chamber’s members and their subsidiaries include businesses

        that are often targeted in class actions.       Because class certification

        creates immense pressure to settle even unmeritorious claims, the

        Chamber has a significant interest in ensuring that courts rigorously

        enforce contractual waivers and faithfully apply Rule 23.




           1 No counsel for a party authored this brief in whole or in part and no

        entity or person, other than amicus, its members, or its counsel, made a
        monetary contribution intended to fund its preparation or submission.
        All parties consented to the filing of this brief. Fed. R. App. P. 29(a)(2).
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                                   INTRODUCTION

              This case is, in the words of Yogi Berra, “déjà vu all over again.”

        After this Court vacated the earlier class-certification order, the district

        court issued a second order that is even less defensible than the first.

        Despite this Court’s guidance, on remand it reinstated that prior order

        and certified separate “issue” classes even though those classes will not

        resolve liability for a single class member’s individual claims.

              Data-breach cases are often best resolved through bellwether trials

        because they are not well-suited for class litigation. Here, however,

        plaintiffs tried to avoid individual litigation by arguing that customers

        as a class would have paid less for their hotel rooms had Starwood

        disclosed its data-security issues. They convinced the district court to

        grant certification, even though customers waived their rights to

        participate in a class action, plaintiffs’ theory requires extensive

        individualized fact-finding, and this action will not resolve essential

        elements of plaintiffs’ negligence claims.

              This Court should grant review to correct those manifest errors and

        address important, frequently recurring questions. Absent correction,




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        the district court’s departures from settled class-action procedures create

        incentives for abuse that will harm businesses and consumers alike.

                                      ARGUMENT

        I.    The Court Should Have Enforced the Class-Action Waivers.

              This case should never have been certified as a class action because

        all of the class members expressly waived any right to participate in class

        litigation. In refusing to enforce those waivers, the court erred for two

        reasons, each of which has important implications for other putative class

        actions.

              First, it erroneously held that stand-alone class-action waivers are

        unenforceable because they impermissibly require a court to “ignore the

        provisions of Rule 23 of the Federal Rules of Civil Procedure.” App.20.

        Not so. Nothing in Rule 23 or any other federal rule prevents parties

        from voluntarily relinquishing their ability to participate in a class

        action. Class-action waivers merely limit the procedures for resolving a

        dispute; they do not prevent parties from vindicating their substantive

        rights. Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 234 (2013).

        The district court’s contrary reading violates the Rules Enabling Act by

        giving those rules improper substantive force.            28 U.S.C. § 2072;

        Burlington N. R.R. v. Woods, 480 U.S. 1, 5 (1987).

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              In refusing to enforce stand-alone waivers, the court disregarded

        numerous cases correctly rejecting its misguided approach. As the Fifth

        Circuit has held, “there is no logical reason to distinguish a waiver in the

        context of an arbitration agreement from a waiver in the context of any

        other contract.” Convergys Corp. v. NLRB, 866 F.3d 635, 639 (5th Cir.

        2017) (cleaned up). Brushing aside these cases, it relied instead on Shady

        Grove Orthopedic Associates, P.A. v. Allstate Insurance Co., 559 U.S. 393

        (2010), and its progeny. But Shady Grove invalidated a state statutory

        attempt to override Rule 23; it says nothing about private contractual

        agreements to waive class action relief. Crews v. TitleMax of Del., Inc.,

        2023 WL 2652242, at *4 (M.D. Pa. Mar. 27, 2023) (“The waiver of a right

        by an individual is not the same thing as the unilateral destruction of a

        right by statute.”).      Respecting the parties’ “valid and voluntary

        agreement to waive class actions” is “fully consonant with … Shady

        Grove[.]” In re May, 595 B.R. 894, 903 (Bankr. E.D. Ark. 2019); see

        U1it4Less, Inc. v. FedEx Corp., 2015 WL 3916247, at *4 (S.D.N.Y. June

        25, 2015).

              The court’s prohibition on standalone class-action waivers leaves

        both businesses and consumers with fewer choices for dispute resolution.



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        Businesses face the choice of coupling all class-action waivers with

        arbitration clauses or not having them at all. Consumers who might

        prefer litigating their rights individually, rather than in class actions

        where they have less direct involvement, are left without that option too.

              Second, the court suggested that Marriott relinquished its right to

        enforce those waivers based on its precertification conduct. That is also

        wrong.   Pre-certification, “[a]n unnamed member of a proposed but

        uncertified class is not a party to the litigation.” Quicken Loans Inc. v.

        Alig, 737 F.3d 960, 966 (4th Cir. 2013); Smith v. Bayer Corp., 564 U.S.

        299, 313 (2011) (rejecting “novel and surely erroneous argument that a

        nonnamed class member is a party to the class action litigation before the

        class is certified.” (original emphasis) (cleaned up)); Moser v. Benefytt,

        Inc., 8 F.4th 872, 877 (9th Cir. 2021) (pre-certification, class actions

        “include[] only the claims of the named plaintiff” (cleaned up)); Cruson v.

        Jackson Nat’l Life Ins. Co., 954 F.3d 240, 250 (5th Cir. 2020) (same);

        Molock v. Whole Foods Mkt. Grp., Inc., 952 F.3d 293, 297 (D.C. Cir. 2020);

        Morlan v. Univ. Guar. Life Ins. Co., 298 F.3d 609, 616 (7th Cir. 2002).

              Marriott could not intentionally relinquish its rights vis-à-vis these

        nonparties. The Eighth Circuit recently recognized as much, finding no



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        waiver where the defendant moved to compel arbitration after class

        certification because a motion before certification “would have been a

        motion to bind parties who were not yet a part of the case.” H&T Fair

        Hills, Ltd. v. All. Pipeline L.P., 76 F.4th 1093, 1100 (8th Cir. 2023). Just

        as defendants cannot enforce arbitration rights against nonparties until

        the class-certification stage, defendants also cannot relinquish those

        rights until then. In re Titanium Dioxide Antitrust Litig., 962 F. Supp. 2d

        840, 853 (D. Md. 2013); In re TFT-LCD (Flat Panel) Antitrust Litig., 2011

        WL 1753784, at *4 (N.D. Cal. May 9, 2011) (same). This principle applies

        with greater force to standalone class waivers because, while a defendant

        could theoretically enforce an arbitration clause against a single plaintiff,

        it cannot—by definition—enforce a class waiver on an individual basis.

              The decision below is incompatible with the “nature of class actions

        and the logic of class waivers.”      App.31.    In remanding, this Court

        explained that class certification is “the sharp line of demarcation

        between an individual action seeking to become a class action and an

        actual class action.” App.31 (cleaned up). The district court effectively

        erased that line by holding that Marriott relinquished its class-action

        waiver as to nonparties by litigating against named plaintiffs. That



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        makes no sense.       The named plaintiffs are the only parties to the

        litigation before class certification, the “critical act” that “renders

        [unnamed class members] subject to the court’s power.” In re Checking

        Acct. Overdraft Litig., 780 F.3d 1031, 1037 (11th Cir. 2015).

              Finally, finding waiver based on acquiescing to MDL proceedings is

        wrong and unprecedented. Cf. Lombardi v. DirecTV, Inc., 549 F. App’x

        617, 619-20 (9th Cir. 2013). The decision below misread the agreement,

        which agreed to forgo class actions, not MDL proceedings, and

        misunderstood the nature of MDLs, in which constituent actions remain

        separate. If it stands, no defendant would acquiesce to any MDL despite

        potential efficiencies for parties and courts, lest they inadvertently waive

        contractual rights.

        II.   Other Errors Warrant Review.

              Certification was improper for at least two other reasons: (1) the

        class members are not readily ascertainable, and (2) the court relied on

        “element-only” classes.

              A.   The Class Is Not Ascertainable.

              In its original order, the court correctly recognized that plaintiffs’

        overpayment theory raises Article III concerns because many hotel

        guests are reimbursed in full. Because those uninjured individuals lack

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        standing, it rewrote the class definition to include only individuals “who

        bore the economic burden” of their hotel stay. App.5, 27 (cleaned up).

        But in attempting to solve one problem, it created another:

        ascertainability.

              Ascertainability is “an ‘essential’ element of class certification”

        “encompassed” by Rule 23. 1 Newberg on Class Actions § 3:2 (6th ed.);

        EQT Prod. Co. v. Adair, 764 F.3d 347, 358 (4th Cir. 2014). Unless absent

        class members are identifiable, courts cannot perform Rule 23’s “rigorous

        analysis.” Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013) (cleaned up);

        see Hammond v. Powell, 462 F.2d 1053, 1055 (4th Cir. 1972) (class

        members must be “readily identifiable”).        Without a ready means of

        ascertaining who belongs in the proposed class, plaintiffs cannot show

        that common questions “predominate,” or that a class action is “superior

        to other available methods for fairly and efficiently adjudicating the

        controversy.” Fed. R. Civ. P. 23(b)(3).

              Taking a certify-now-worry-later approach, the court concluded

        that the requisite “individualized review” of “individual files” was no

        obstacle to certification because parties could self-certify that they paid

        for their hotel stay, affidavits could be cross-checked against databases,



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        and plaintiffs could rely on individual “receipts and bank and credit card

        statements.” In re Marriott Int’l, Inc., Customer Data Sec. Breach Litig.,

        341 F.R.D. 128, 145-46 (D. Md. 2022), vacated and remanded sub nom.

        In re Marriott Int’l, Inc., 78 F.4th 677 (4th Cir. 2023), reinstated by 2023

        WL 8247865 (D. Md. Nov. 29, 2023). But defendants are entitled to

        dispute that evidence. And neither plaintiffs nor the court explained how

        they could resolve those disputes without “extensive and individualized

        fact-finding or mini-trials” inappropriate for class litigation. EQT Prod.

        Co., 764 F.3d at 358 (cleaned up).

              The court did note that although identifying class members would

        be “time consuming,” it would “carefully monitor” the case “to ensure

        continued administrative feasibility.”     In re Marriott Int’l, Inc., 341

        F.R.D.   at    145–46.     But   named    plaintiffs   must    “affirmatively

        demonstrate” the class can be ascertained without cumbersome

        individualized adjudications. Comcast, 569 U.S. at 33, 35 (cleaned up);

        see Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 275 (2014)

        (plaintiffs “must actually prove—not simply plead—that their proposed

        class satisfies each requirement of Rule 23”). In giving plaintiffs a pass,




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        the court violated Rule 23 and put defendants in the untenable situation

        of litigating against an unknown and unknowable group.

              B.   The Court        Erroneously          Certified    “Element-Only”
                   Classes.

              This Court has declined to resolve whether an entire claim must

        meet Rule 23(b)’s requirements or whether Rule 23(c)(4) allows courts

        bypass the predominance requirement by selecting individual elements

        of a single claim for class treatment. App.30, 33; Gunnells v. Healthplan

        Servs., Inc., 348 F.3d 417, 444-45 (4th Cir. 2003). Because the district

        court erroneously recertified the “element-only” classes on the negligence

        claims, this Court should clarify that “[t]he proper interpretation of the

        interaction between subdivisions (b)(3) and (c)(4) is that a cause of action,

        as a whole, must satisfy the predominance requirement of (b)(3) and that

        (c)(4) is a housekeeping rule that allows courts to sever the common

        issues for a class trial.” Castano v. Am. Tobacco Co., 84 F.3d 734, 745

        n.21 (5th Cir. 1996); Harris v. Med. Transp. Mgmt., Inc., 77 F.4th 746,

        760 (D.C. Cir. 2023) (court had to ensure that issue classes “satisfied one

        of the three types of authorized class actions under Rule 23(b)”).

              The district court’s contrary approach conflicts with Rule 23, which

        is a case-management rule, not a revolutionary device permitting


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        element-by-element litigation. Rule 23(a) lists the four prerequisites of

        all class actions, Rule 23(b) offers three “types of class actions,” and Rule

        23(c) provides case-management tools and procedural requirements.

        Murphy v. Smith, 138 S. Ct. 784, 789 (2018) (looking to the “surrounding

        statutory structure”). Rule 23(c)(4)’s placement alongside Rule 23(c)’s

        other provisions proves that it, too, is a case-management rule—nothing

        more.

              The court’s misguided interpretation raises serious constitutional

        concerns. As the Supreme Court affirmed, “[e]very class member must

        have Article III standing … to recover individual damages.” TransUnion

        LLC v. Ramirez, 594 U.S. 413, 431 (2021). Class actions are no exception

        and permitting litigation that ends before a liability determination

        invites advisory opinions, which “federal courts do not issue.” Id. at 424.

        By allowing class-wide adjudication of individual elements—which

        neither separately nor together establish standing—the court opened the

        door to class members who may have suffered no injury at all, much less

        one traceable to defendants’ conduct. Id. at 423-24.

              That approach also lets cases proceed as class actions even in

        scenarios the Supreme Court has disapproved. In Comcast, for example,



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        the Court rejected the proposed class because plaintiffs failed to

        “establish[] that damages are capable of measurement on a classwide

        basis.” 569 U.S. at 34. But an “element-only” approach to Rule 23(c)(4)

        would have allowed plaintiffs to proceed on the question whether

        Comcast engaged in “anticompetitive clustering conduct,” id. at 31,

        leaving causation and damages for individual determination.          Rule

        23(c)(4) should not be interpreted to allow plaintiffs to dodge guiding

        precedent so easily.

        III. Improper Class Certification Severely Burden Businesses
             and the Economy.

              Class certification is not merely “a game-changer,” but “often the

        whole ballgame,” given insurmountable settlement pressures on

        defendants to settle. Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 591

        n.2 (3d Cir. 2012); AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 350

        (2011) (noting “risk of ‘in terrorem’ settlements”). As a result, “even a

        complaint which by objective standards may have very little chance of

        success at trial has a settlement value to the plaintiff out of any

        proportion to its prospect of success at trial.” Blue Chip Stamps v. Manor

        Drug Stores, 421 U.S. 723, 740 (1975).




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              Virtually all certified class actions “end in settlement” before trial.

        Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and

        Their Fee Awards, 7 J. Empirical Legal Stud. 811, 812 (2010). And for

        good reason: Class-action litigation costs crossed the $3 billion threshold

        in 2021.   U.S. Chamber Inst. for Legal Reform, Unfair, Inefficient,

        Unpredictable: Class Action Flaws and the Road to Reform (2022),

        http://bit.ly/3NvDDkA. Defending a single class action can run into nine

        figures and drag on for years. Id.

              Properly enforcing class waivers and Rule 23’s requirements at

        class certification ensures that parties do not waste time and money

        litigating claims only for a court to conclude that significant portions of

        the certified class lack standing or cannot prove essential elements of

        their claims. Moreover, even assuming some class-action settlements

        benefit class members and society, they do so only if members can be

        ascertained. Certifying classes whose members cannot be ascertained

        only disincentivizes efficient settlements and incentivizes coercive ones.

              The court’s order certified classes encompassing nearly 20 million

        individuals and turned the principle that class actions are the exception,

        not the rule on its head. Califano v. Yamasaki, 442 U.S. 682, 700-01



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        (1979). Neither that result nor the court’s reasoning can be squared with

        Article III, Rule 23, or basic due process. If that decision stands, it will

        have sweeping consequences for courts and parties alike by discouraging

        participation in MDLs, allowing end-runs around constitutional

        principles and controlling caselaw, and adding to the immense pressure

        to settle improper class actions, ultimately resulting in higher prices for

        consumers and lower wages for employees.




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                                   CONCLUSION

              This Court should review and reverse.

                                             Respectfully submitted,

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                          CERTIFICATE OF COMPLIANCE

              Pursuant to Federal Rule of Appellate Procedure Rule 32(a), I

        certify that this brief complies with the length limitations set forth in

        Fed. R. App. Proc. 32(a)(7) because it contains 2,596 words, as counted by

        Microsoft Word 2013, excluding the items that may be excluded under

        Federal Rule 32(f). This brief complies with the typeface requirements

        of Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App.

        P. 32(a)(6) because it has been prepared in a proportionally spaced

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        Dated: December 20, 2023

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